                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION - FRANKFORT


 JUDICIAL WATCH, INC.,

                    Plaintiff,


 UNITED STATES OF AMERICA,
                                                            Civil No. 3:17-CV-94-GFVT-EBA
                    Plaintiff-Intervenor,

                    v.

 ALISON LUNDERGAN GRIMES, et al.,

                    Defendants.


                                        AGREED ORDER

       Judicial Watch, Inc. (“Judicial Watch”) has filed a Complaint in the above-captioned

matter alleging violations of Section 8 of the National Voter Registration Act of 1993

(“NVRA”). 52 U.S.C. § 20507. The United States of America (“United States”) has filed a

Complaint in Intervention in this matter, alleging violations of Section 8 of the NVRA, with the

agreement of all the parties.

       The parties, through counsel, have conferred and agreed that this action should be settled

without the delay and expense of litigation. The parties share the goals of (1) improving the

accuracy of voter registration records through a general program that makes a reasonable effort

to remove the names of ineligible voters from the official lists of registered voters and (2)

ensuring that Kentucky residents are not removed from official lists of registered voters absent

the procedural safeguards set forth in the NVRA. Accordingly, the parties have negotiated in

good faith and hereby agree to the entry of this Agreed Order as an appropriate resolution.
       The parties stipulate and agree that:

       1.      The Court has jurisdiction over this action pursuant to 52 U.S.C. § 20510(a) and

28 U.S.C. §§ 1331 and 1345.

       2.      Venue is proper in this district pursuant to 28 U.S.C. §§ 97(a) and 1391(b).

       3.      The NVRA authorizes the Attorney General of the United States to bring a civil

action for such declaratory or injunctive relief as is necessary to carry out the Act. 52 U.S.C.

§ 20510(a).

       4.      Judicial Watch brings suit under the NVRA’s private right of action, 52 U.S.C.

§ 20510(b), and this Court has subject matter jurisdiction over its claims, which arise under

federal law. 28 U.S.C. § 1331.

       5.      The Commonwealth of Kentucky, Commonwealth of Kentucky State Board of

Elections, and Kentucky Secretary of State are proper parties in this action.

       6.      The Commonwealth of Kentucky is one of the States of the United States of

America and is subject to the requirements of the NVRA. 52 U.S.C. §§ 20502(4), 20503, 20507.

       7.      The Commonwealth of Kentucky, through its State Board of Elections, is

responsible for administering Kentucky’s election laws and supervising the registration and

purging of registrants within the State. KRS § 117.015(1). The Secretary of State is the ex

officio chair of the Kentucky State Board of Elections and Kentucky’s chief State election

official, and is responsible for coordinating the State’s responsibilities under the NVRA. See 52

U.S.C. § 20509; KRS § 117.015(2).

       8.      The NVRA was enacted “to establish procedures that will increase the number of

eligible citizens who register to vote in elections for Federal office” while “ensur[ing] that

accurate and current voter registration rolls are maintained.” 52 U.S.C. § 20501(b)(1), (4).




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       9.        Section 8 of the NVRA (“Section 8”) addresses state voter list maintenance

procedures for elections for federal office. 52 U.S.C. § 20507.

       10.       Section 8 prescribes the conditions under which registrants may be removed from

voter registration lists and the procedures that must be followed before making those removals.

52 U.S.C. § 20507.

       11.       Programs to maintain accurate and current voter registration lists must be uniform

and nondiscriminatory, and they must comply with the Voting Rights Act. 52 U.S.C.

§ 20507(b)(1).

       12.       Programs to maintain accurate and current voter registration lists may not remove

registrants by reason of a registrant’s failure to vote, except as provided in the procedures under

Sections 8(c) and (d). 52 U.S.C. § 20507(b)(2).

       13.       Section 8 permits states to remove the name of a person from the voter

registration lists upon the request of the registrant, and, if state law so provides, for mental

incapacity or for criminal conviction. 52 U.S.C. § 20507(a)(3)(A)-(B).

       14.       Section 8 also requires states to conduct a general voter registration list

maintenance program that makes a reasonable effort to remove persons from the voter list who

have become ineligible by reason of death or a change in residence outside of the jurisdiction, in

accordance with procedures set forth in the NVRA. 52 U.S.C. § 20507(a)(4).

       15.       Section 8 further specifies the two circumstances under which a registrant may be

removed from the voter registration list because the registrant has moved to another jurisdiction.

52 U.S.C. § 20507(d)(1).




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       16.         First, a state can remove the name of a person from the voter registration list on

grounds of a change of residence based upon the registrant’s written confirmation of a change of

address to a location outside of the registrar’s jurisdiction. 52 U.S.C. § 20507(d)(1)(A).

       17.         Second, a state can remove the name of a person from the voter registration list on

grounds of a change of residence upon completion of the process set forth in Section 8(d), 52

U.S.C. § 20507(d), which allows removal if:

             (a)    The registrant fails to respond to a notice (“Section 8(d)(2) notice”) which

                    includes a postage prepaid and preaddressed return card sent by forwardable

                    mail, on which the registrant may state his or her current address, and which

                    contains specific instructions and information, 52 U.S.C. § 20507(d)(1)(B)(i),

                    (d)(2), and

             (b)    The registrant then fails to vote or appear to vote during the period ending on

                    the day after the second federal general election subsequent to the Section

                    8(d)(2) notice being sent. 52 U.S.C. § 20507(d)(1)(B)(ii).

       18.         Section 8(f) provides that when a registrant has a change-of-address to an address

within the same jurisdiction, the voter registration list must be updated accordingly and the

registrant’s name may not be removed except as provided in Section 8(d). 52 U.S.C. § 20507(f).

       19.         Section 8 also provides an example of a list maintenance program that constitutes

a reasonable effort to remove registrants who have become ineligible due to a change of

residence. 52 U.S.C. § 20507(c)(1). Under this program, a state uses information from the

United States Postal Service National Change of Address (“NCOA”) program to identify

registrants who may have changed residence. 52 U.S.C. § 20507(c)(1)(A). Where it appears

from that information that a registrant has moved to a new address in the same jurisdiction, the




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registration record is updated to show the new address and the registrant is sent a notice of the

change by forwardable mail that includes a postage-prepaid, pre-addressed return form by which

the registrant may verify or correct the address information. 52 U.S.C. § 20507(c)(1)(B)(i).

Where it appears from the NCOA information that a registrant has moved to a new address in a

different jurisdiction, the procedure set out in Section 8(d) and described above is used to

confirm the address change. 52 U.S.C. § 20507(c)(1)(B)(ii).

       20.     Section 8 requires states to complete any program, the purpose of which is to

systematically remove the names of ineligible registrants from the official list of eligible voters,

not later than 90 days prior to the date of a primary election or general election for federal office.

52 U.S.C. § 20507(c)(2)(A).

       21.     Kentucky law requires the Kentucky State Board of Elections to establish a voter

registration removal program using the change-of-address information supplied by the United

States Postal Service through its licensees or other sources to identify registrants whose

addresses may have changed. KRS § 116.112(1).

       22.     If it appears that a registrant has moved within the same county, the Kentucky

State Board of Elections is required to provide the county board of elections with the information

necessary to change the registration record. The Kentucky State Board of Elections is also

required to send to the new address a notice of the change by forwardable mail and a postage-

prepaid, pre-addressed return form by which the registrant may verify or correct the address

information. KRS § 116.112(2).

       23.     If it appears that a registrant has moved to a different county or state, the

Kentucky State Board of Elections is required to send to the address at which the registrant was




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last registered, by forwardable mail, a notice with a postage-prepaid and pre-addressed return

card on which the registrant may state his or her current address. KRS § 116.112(3).

       24.         A registrant may not be removed from the registration records on the ground that

the registrant has changed residence unless the registrant:

             (a)    Confirms in writing that the registrant has changed residence to a place outside

                    the county; or

             (b)    Has failed to respond to the mailed notice and has not voted or appeared to vote

                    and, if necessary, correct the registrant’s address, in an election during the

                    period beginning on the date of the notice and ending on the day after the date

                    of the second general election for Federal office that occurs after the date of the

                    notice.

KRS § 116.112(4).

       25.         As part of its list maintenance program, the Kentucky State Board of Elections is

required by state law to maintain an inactive list. State law provides that when the State Board

sends the notices described in K.R.S. § 116.112(3) to registrants identified as having moved to a

new county or state, the registrants who do not respond to the notice and do not vote or appear to

vote for two federal election cycles are maintained on an inactive list. K.R.S. § 116.112(5).

When the State Board last sent such notices in 2009, those registrants who did not respond to the

notice and did not vote or appear to vote for two federal election cycles were included on an

inactive list and ultimately 67,743 individuals were removed from the registration list.

       26.         Kentucky law permits registrants on the inactive list to vote, but not to be counted

for other purposes such as creating precincts or calculating the state funding provided to county

clerks based on the number of registered voters in the county. KRS § 116.112(7).




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       27.     Kentucky law requires the Kentucky State Board of Elections to complete, not

later than ninety days prior to the date of a primary or general election, any program the purpose

of which is to systematically remove the names of ineligible voters from the registration records.

KRS § 116.112(6).

       28.     The Kentucky State Board of Elections maintains and follows a registration

removal program that since 2011, has removed 424,429 individuals from Kentucky’s voter rolls

due to an individual’s death, felon status, mental incompetence, move out of state with their

written confirmation, or at their request. The Kentucky State Board of Elections has been unable

to secure sufficient funding to implement its list maintenance procedures as to registrants who

have moved without notifying election or motor vehicle authorities, despite seeking funding

from the General Assembly for these efforts in every budget request since 2008. Currently, there

are no registrants on an inactive list or in the process set out in Section 8(d) of the NVRA and

KRS § 116.112. Since 2009, no forwardable notices have been mailed to registrants under the

change of address process contemplated by Section 8(d) of the NVRA and KRS § 116.112.

Since 2015, no registrants who have become ineligible due to change of residence have been

removed as contemplated by the procedures set out in Section 8(d) of the NVRA and KRS §

116.112.

       29.     Due to this lack of funding, the practices currently in place in Kentucky do not

comply with the NVRA’s requirement that states conduct a general voter registration list

maintenance program that makes a reasonable effort to remove ineligible persons from the voter

rolls due to a change in residence outside of the jurisdiction. 52 U.S.C. § 20507(a)(4)(B).

       30.     The parties agree to work in a fair, reasonable, and collaborative fashion under the

terms of this Agreed Order set forth below.




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WHEREFORE, the parties having freely given their consent, and the terms of this Agreed Order

being fair, reasonable, and consistent with the NVRA’s requirements, it is hereby ORDERED,

ADJUDGED, and DECREED that:

       31.         The Kentucky State Board of Elections shall develop and implement a general

program of statewide voter list maintenance that makes a reasonable effort to remove from the

statewide voter registration list the names of registrants who have become ineligible due to a

change in residence in accord with section 8 of the NVRA, 52 U.S.C. § 20507, and KRS §

116.112. The general program

             (a)    shall be uniform, nondiscriminatory, and in compliance with the Voting Rights

                    Act, 52 U.S.C. § 10301 et seq.;

             (b)    shall not result in the removal of any registrant from the statewide voter

                    registration list by reason of the registrant’s failure to vote, except as provided

                    under sections 8(c) and (d) of the NVRA;

             (c)    shall comply with the standards and procedures set out in sections 8(b)-(d) of

                    the NVRA and KRS § 116.112;

             (d)    shall require all systematic list maintenance activities relating to the removal of

                    registrants due to a change in residence to be completed at least 90 days prior to

                    the next primary or general election for federal office as provided in section

                    8(c)(2)(A) of the NVRA (with the exceptions noted in section 8(c)(2)(B) of the

                    NVRA) and KRS § 116.112(6); and

             (e)    shall base removals due to a change in residence only on either: (1) the

                    registrant’s written confirmation of a change of address outside the jurisdiction,




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                 or (2) the registrant (a) failing to respond to a forwardable notice sent by the

                 Kentucky State Board of Elections or its designee, which meets the

                 requirements of section 8(d)(2) of the NVRA and KRS § 116.112(3), and (b)

                 failing to vote or appear to vote during the period ending on the day after the

                 second federal general election subsequent to the notice being sent.

                                      Comprehensive Plan

        32.     To assist in the establishment of the general program described above, the

Kentucky State Board of Elections shall create a Comprehensive Plan and implement and adhere

to its terms.

        33.     Within 45 days of the effective date of this Agreed Order, the Kentucky State

Board of Elections shall provide counsel for the parties with its draft Comprehensive Plan. The

parties shall have 30 days to respond. If the parties cannot in good faith agree upon the terms of

an appropriate Plan within 30 days of the date the last response, the parties may seek a resolution

from the Court. Responses to any such request for resolution shall be filed with the Court within

10 days of the request. Any agreed upon Comprehensive Plan shall be filed with the Court and,

if deemed appropriate by the Court, so ordered. The Kentucky State Board of Elections will

proceed with the actions described in subparagraph 34(c) below regarding a canvass mailing in

the stated timeframes regardless of whether a Comprehensive Plan is in place.

        34.     The Comprehensive Plan shall include a detailed description of all procedures to

be followed by the Kentucky State Board of Elections for maintaining an accurate statewide

voter registration list, including procedures to identify registrants who have become ineligible

due to change in residence. The descriptions shall include a step-by-step account of all actions to




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be undertaken and the expected timeframe and frequency of such actions. At a minimum, the

Comprehensive Plan shall include the following:

          (a)   Procedures. Procedures for a general program of list maintenance for

                registrants who may have become ineligible due to a change of residence that

                has not been reported to election officials, including procedures that can be

                implemented in 2018 (bearing in the mind the 90-day quiet period before

                federal elections), procedures going forward in subsequent years, and

                procedures for reaching back to identify registrants who may have become

                ineligible due to an unreported change of residence since 2009.

          (b)   Sources of Information Used Regularly. Procedures to identify registered

                voters who may have moved without reporting such move to election officials,

                including procedures for obtaining, processing, and reliably matching

                information to the statewide voter registration database:

                  (i)    data from the U.S. Postal Service National Change of Address (NCOA)

                         program;

                  (ii)   mail sent by the Kentucky State Board of Elections or local election

                         officials returned as undeliverable with or without forwarding address;

                  (iii) lists from the Kentucky Transportation Cabinet of former Kentucky

                         residents who have surrendered Kentucky driver licenses or other state-

                         issued identification to motor vehicle authorities in another state;

                  (iv) data from other states indicating that a Kentucky registrant may have

                         moved to that state; and




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        (v)   reliable evidence of address changes from the Electronic Registration

              Information Center.

      For each source of information, the Plan shall include the expected date by

      which the data will first be obtained and the frequency with which such data

      will be obtained and used in the future, including a plan to obtain and use

      change-of-address information from either NCOA data or the Electronic

      Registration Information Center at least once per year.

(c)   Canvass Mailing. Procedures for sending a nonforwardable canvass mailing to

      identify registrants through mail returned as undeliverable who may have

      unreported moves since 2009, excluding any already identified through the

      Kentucky State Board of Elections’ initial use of the information listed in

      subparagraph (b), including the expected date(s) between May 23 and August 8,

      2018, on which the canvass mailing will be sent. Where such nonforwardable

      canvass mailing is returned as undeliverable with or without forwarding

      address, this would include procedures for moving ahead during the time period

      between May 23 and August 8, 2018 as set forth in subparagraphs (d)(i), d(ii),

      and (e) below.

(d)   Registration List Updates. Procedures for using the data that is successfully

      matched to the statewide voter registration list under subparagraphs (b) and (c)

      to update the registration list, including:

        (i)   procedures to be followed where data obtained from the sources of

              information outlined in subparagraphs (b) and (c) above indicate that

              registrants may have an unreported move inside the registrar’s




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              jurisdiction, which shall include updating the registrants’ records in

              compliance with sections 8(c)(1)(B)(i) and 8(f) of the NVRA and

              sending appropriate notices of such updates, as described in section

              8(c)(1)(B)(i);

       (ii)   procedures to be followed where data obtained from the sources of

              information outlined in subparagraphs (b) and (c) above indicates that

              registrants may have an unreported move outside the registrar’s

              jurisdiction, which shall include sending the specific forwardable notice

              described in section 8(d)(2) of the NVRA to confirm the registrants’

              changes in residence, waiting for two federal general elections for the

              registrant to respond or vote or appear to vote, and failing that, to

              remove them from the statewide voter registration database according to

              the procedures set forth in section 8(d) of the NVRA; and

       (iii) the form and content of all notices to be sent to registrants as part of the

              list maintenance activities described in the Comprehensive Plan.

(e)   Timing of Notices and Updates. The expected date(s) between May 23 and

      August 8, 2018 when notices will be sent under sections 8(c)(1)(B)(i) or 8(d)(2)

      of the NVRA and updates carried out under section 8(f) of the NVRA, and the

      expected timeframes in future years (not within 90 days of an upcoming

      primary or general election for federal office) when such notices will be sent

      and updates carried out.

(f)   List of Registrants to Whom Notices Have Been Sent. Procedures for

      maintaining a list that includes all registrants identified through subparagraphs




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      (b) or (c) as voters who may have become ineligible due to a change in

      residence outside the jurisdiction, and are mailed notices conforming to section

      8(d)(2) of the NVRA, including procedures to ensure that (1) any registrant on

      the list who appears to vote and is otherwise eligible is permitted to cast a

      ballot, (2) any registrant on the list can access and review information about his

      or her registration record and status through Kentucky’s web-based voter portal,

      and (3) any registrant who responds to the notice and affirms that they remain in

      the jurisdiction or votes or appears to vote or confirms or updates his or her

      registration address is updated in the statewide database and returned to active

      status.

(g)   Removals. Procedures for removing from the statewide voter registration list

      any registrant who is mailed a notice conforming to section 8(d)(2) of the

      NVRA who does not respond to the notice and who does not vote or appear to

      vote or otherwise have contact with election officials through the day after the

      second federal general election following the date on which the registrant was

      mailed the section 8(d) notice, including

        (i)     a commitment to remove the registration of any registrant who meets the

                conditions prescribed by KRS § 116.112(4), and

        (ii)    the expected timeframe when such removals will be carried out (not

                within 90 days of an upcoming primary or general election for federal

                office).

(h)   Database Management. A description of databases to be used in list

      maintenance activities and a plan to consult with relevant database managers,




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          assess the quality of data to be used in list maintenance activities, and develop

          sound and reliable matching criteria to be used in list maintenance activities (to

          ensure that the persons identified as having a possible move are properly

          matched up with the same persons registered in the statewide voter registration

          database).

    (i)   Record-Keeping. Procedures for maintaining and making available for

          inspection and copying the records concerning implementation of the general

          program activities outlined in this decree, in accord with section 8(i) of the

          NVRA and KRS § 116.112(8).

    (j)   Local Election Officials. A detailed description of any role that local election

          officials may play in list maintenance activities.

    (k)   Public Outreach. Practices to be followed to educate voters regarding the

          importance of confirming their registration status, including efforts to be made

          before the close of registration for each federal general election that follows the

          removal of registrants on the list described in subparagraph (f).

                                     Reporting

35. (a)   Within 30 days of the date of this Agreed Order, the Kentucky State Board of

          Elections will make publicly available on its website, any written procedures

          relevant to list maintenance, including memos, manuals, training materials,

          informal guidance, administrative regulations, etc., that exist as of the date of

          this Agreed Order, and it will make publicly available on its website any such

          documents subsequently released or revised at the time of such release or

          revision. These documents shall include any guidance to county clerks




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      regarding implementation of registration updates based on change-of-address

      data. At the time the information is made public, the State Board will provide a

      copy or link to counsel for Judicial Watch and the United States.

(b)   The Kentucky State Board of Elections will make the results of its efforts of

      information collection and list maintenance outlined in subparagraphs 34(b)-(g)

      above publicly available on its website by September 30, 2018, and will update

      such publicly available information at least once per year by September 30 of

      each year. At the time the information is made public, the State Board will

      provide a copy or link to counsel for Judicial Watch and the United States.

(c)   The publicly available information described in subparagraph (b) above and

      provided to counsel for Judicial Watch and the United States will include the

      following:

       (i)    Number of registrants identified who may have moved, by source of

              information listed in subparagraph 34(b) revealing the possible move;

       (ii)   Number of registration records updated;

       (iii) Number of registrants to whom notices conforming to section

              8(c)(1)(B)(i) of the NVRA were sent;

       (iv) Number of notices conforming to section 8(c)(1)(B)(i) that were

              returned as undeliverable;

       (v)    Number of notices conforming to section 8(c)(1)(B)(i) that were

              returned by the registrant confirming or correcting registration

              information;




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                   (vi) Number of registrants to whom notices conforming to section 8(d)(2) of

                         the NVRA were sent;

                   (vii) Number of notices conforming to section 8(d)(2) returned by the

                         registrant confirming or correcting registration information;

                   (viii) Number of notices conforming to section 8(d)(2) returned as

                         undeliverable; and

                   (ix) Number of notices conforming to section 8(d)(2) to which no response

                         was received;

                   (x)   Total number of removals from the statewide voter registration list, with

                         a breakdown by reason for removal, as defined by the U.S. Election

                         Assistance Commission’s 2016 Election Administration and Voting

                         Survey;

                   (xi) Number of removals from the statewide voter registration list due to a

                         move out of jurisdiction, as defined by the U.S. Election Assistance

                         Commission’s 2016 Election Administration and Voting Survey, with a

                         breakdown by the source of information relied on;

                   (xii) Number of active registered voters as of the date of the report; and

                   (xiii) Number of registrants on the list described in subparagraph 34(f) as of

                         the date of the report.

       36.     All data reported under the above requirements shall include any list maintenance

activity conducted by local election officials.




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       37.      The Kentucky State Board of Elections will report to the U.S. Election Assistance

Commission the voter registration data required by the Commission’s biennial Election

Administration and Voting Survey, during the term of this Agreed Order.

                                     Enforcement and Term

       38.      The parties to this Agreed Order must employ best efforts to defend this Agreed

Order against any legal challenge by non-parties to this agreement.

       39.      The parties will work cooperatively as the Kentucky State Board of Elections

seeks to ensure compliance with the terms of this Agreed Order and the NVRA.

       40.      This Agreed Order shall take effect once it has been approved by the Court and

entered upon the docket (“the effective date”).

       41.      This Agreed Order shall remain in effect through October 31, 2023, on which date

the agreement will terminate automatically unless the parties mutually agree to extend it or the

Court determines that the Defendants have not achieved substantial compliance with its terms.

       42.      Until the termination of this Agreed Order, the Court shall retain jurisdiction over

this action to enter such further relief as may be necessary for the effectuation of the terms of this

Agreed Order.

       43.      Each party shall bear its own costs and fees.




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SO ORDERED




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